     Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 1 of 37



                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


IN RE GSE BONDS ANTITRUST
                                           Case No. 1:19-cv-01704 (JSR)
LITIGATION




    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
     PRELIMINARY APPROVAL OF STIPULATION AND AGREEMENT OF
         SETTLEMENT WITH DEUTSCHE BANK SECURITIES INC.
            Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 2 of 37



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
PROCEDURAL BACKGROUND................................................................................................. 2
ARGUMENT .................................................................................................................................. 3
I.        THE COURT IS LIKELY TO GRANT FINAL APPROVAL TO THE PROPOSED
          SETTLEMENT ................................................................................................................... 3
                     The Settlement Is Procedurally Fair Because It Was Achieved Through
                     Extensive Arm’s-Length Negotiation with the Assistance of a Respected
                     and Experienced Mediator (Rule 23(e)(2)(B)) ........................................................4
                     The Settlement Is Substantively Fair .......................................................................5
                                The Complexity, Expense, and Likely Duration of the Litigation
                                (Grinnell Factor #1) .................................................................................... 5
                                The Reaction of the Settlement Class (Grinnell Factor #2) ........................ 7
                                The Stage of the Proceedings and the Amount of Discovery
                                Completed (Grinnell Factor #3).................................................................. 7
                                The Risks of Establishing Liability and Damages
                                (Grinnell Factors #4, 5)............................................................................... 9
                                The Risks of Maintaining a Class Through Trial
                                (Grinnell Factor #6) .................................................................................. 10
                                Deutsche Bank’s Ability to Withstand a Greater Judgment
                                (Grinnell Factor #7) .................................................................................. 10
                                The Range of Reasonableness of the Settlement Fund in Light
                                of the Best Possible Recovery and Attendant Risks of Litigation
                                (Grinnell Factors #8, 9)............................................................................. 10
                     The Remaining Rule 23(e)(2) Factors Support Preliminary Approval
                     of the Settlement ....................................................................................................13
                     1.         Rule 23(e)(2)(A) – Plaintiffs and Co-Lead Counsel Have
                                Adequately Represented the Settlement Class .......................................... 13
                                Rule 23(e)(2)(C) – the Monetary Relief, Cooperation, and
                                Remediation Measures Provided by Deutsche Bank Are Adequate,
                                Taking into Account the Costs and Risks of Further Litigation and
                                All Other Relevant Factors ....................................................................... 14
                                a.         Rule 23(e)(2)(C)(ii) – Effectiveness of Any Proposed
                                           Method of Distributing Relief to the Class ................................... 14
                                b.         Rule 23(e)(2)(C)(iii) – the Terms of Any Proposed Award
                                           of Attorneys’ Fees ......................................................................... 17
                                c.         Rule 23(e)(2)(C)(iv) – Any Agreement Required to Be
                                           Identified Under Rule 23(e)(3) ..................................................... 18


                                                                      i
            Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 3 of 37



                                Rule 23(e)(2)(D) – the Settlement Treats Class Members Equitably
                                Relative to Each Other .............................................................................. 18
II.       CERTIFICATION OF THE SETTLEMENT CLASS IS WARRANTED ...................... 18
                     The Settlement Class Meets the Requirements of Rule 23(a) ...............................18
                     1.         Settlement Class Members Are so Numerous that Joinder Is
                                Impracticable............................................................................................. 19
                                There Are Questions of Law and Fact Common to All Settlement
                                Class Members .......................................................................................... 19
                                Plaintiffs’ Claims Are Typical of Those of the Settlement Class ............. 20
                                The Settlement Class Is Fairly and Adequately Represented ................... 20
                     The Settlement Class Meets the Requirements of Rule 23(b)(3) ..........................21
                     1.         Common Questions of Law and Fact Predominate .................................. 21
                                A Class Action Is the Superior Method for Resolving This Case ............ 22
                     The Court Should Appoint Co-Lead Counsel as Counsel for the
                     Settlement Class .....................................................................................................23
III.      THE PROPOSED MANNER OF NOTICE IS THE BEST NOTICE
          PRACTICABLE UNDER THE CIRCUMSTANCES ..................................................... 24
IV.       THE FORMS OF NOTICE ARE REASONABLE .......................................................... 25
CONCLUSION ............................................................................................................................. 25




                                                                     ii
            Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 4 of 37



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ...........................................................................................................21, 23

Amgen Inc v. Connecticut Ret. Plans and Trust Funds,
  568 U.S. 455 (2013) .................................................................................................................21

Beckman v. KeyBank, N.A.,
   293 F.R.D. 467 (S.D.N.Y. 2013) ...............................................................................................7

Brown v. Kelly,
   609 F.3d 467 (2d Cir. 2010).....................................................................................................20

Cardiology Assocs., P.C. v. Nat’l Intergroup, Inc.,
   No. 85 CIV. 3048 (JMW), 1987 WL 7030 (S.D.N.Y. Feb. 13, 1987) ......................................9

Carnegie v. Household Int’l, Inc.,
   376 F.3d 656 (7th Cir. 2004) ...................................................................................................23

Chhab v. Darden Rests., Inc.,
   No. 11 Civ. 8345 (NRB), 2016 WL 3004511 (S.D.N.Y. May 20, 2016) ................................22

City of Detroit v. Grinnell Corp.,
    495 F.2d 448 (2d Cir. 1974), abrogated on other grounds by Goldberger v.
    Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000) ................................................................4, 11

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) ...................................................................................................................10

Cordes & Co. Fin. Servs., Inc. v. A.G. Edwards & Sons, Inc.,
   502 F.3d 91 (2d Cir. 2007).......................................................................................................21

Denney v. Deutsche Bank AG,
   443 F.3d 253 (2d Cir. 2006).....................................................................................................13

Dial Corp. v. News Corp.,
   314 F.R.D. 108 (S.D.N.Y. 2015) .............................................................................................20

Garland v. Cohen & Krassner,
   No. 08-CV-4626 (KAM), 2011 WL 6010211 (E.D.N.Y. Nov. 29, 2011)...............................10

Gonqueh v. Leros Point to Point, Inc.,
   No. 14-CV-5883 (GHW), 2015 WL 9256932 (S.D.N.Y. Sept. 2, 2015) ................................23



                                                                   iii
           Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 5 of 37



Guippone v. BH S&B Holdings LLC,
   No. 09-CV-1029, 2016 WL 5811888(CM), (S.D.N.Y. Sept. 23, 2016)..................................10

In re Am. Int’l Grp., Inc. Sec. Litig.,
    689 F.3d 229 (2d Cir. 2012)...............................................................................................19, 23

In re Amaranth Nat. Gas Commodities Litig.,
    269 F.R.D. 366 (S.D.N.Y. 2010) .............................................................................................20

In re AOL Time Warner, Inc.,
    No. 02 CIV. 5575 (SWK), 2006 WL 903236 (S.D.N.Y. Apr. 6, 2006) ................................7, 8

In re Austrian and German Bank Holocaust Litig.,
    80 F. Supp. 2d 164 (S.D.N.Y. 2000), aff’d sub nom., D’Amato v. Deutsche
    Bank, 236 F.3d 78 (2d Cir. 2001) ..............................................................................................4

In re Cathode Ray Tube (CRT) Antitrust Litig.,
    No. 14-cv-2058, 2015 WL 9266493 (N.D. Cal. Dec. 17, 2015)..............................................12

In re Credit Default Swaps Antitrust Litig.,
    No. 13MD2476 (DLC), 2016 WL 2731524 (S.D.N.Y. April 26, 2016) ...........................15, 17

In re Crude Oil Commodity Futures Litig.,
    No. 11-cv-3600 (S.D.N.Y.)......................................................................................................15

In re Currency Conversion Fee Antitrust Litig.,
    01-MD-1409, 2006 WL 3247396 (S.D.N.Y. Nov. 8, 2006) ................................................5, 11

In re Currency Conversion Fee Antitrust Litig.,
    224 F.R.D. 555 (S.D.N.Y. 2004) .............................................................................................23

In re Currency Conversion Fee Antitrust Litig.,
    264 F.R.D. 100 (S.D.N.Y. 2010) .............................................................................................20

In re DDAVP Direct Purchaser Antitrust Litig.,
    No. 05-2237, 2011 WL 12627961 (S.D.N.Y. Nov. 28, 2011).................................................17

In re Elec. Books Antitrust Litig.,
    No. 11 MD 2293 (DLC), 2014 WL 1282293 (S.D.N.Y. Mar. 28, 2014) ....................20, 21, 23

In re EVCI Career Colleges Holding Corp. Sec. Litig.,
    No. 05-CV-10240 (CM), 2007 WL 2230177 (S.D.N.Y. July 27, 2007) .................................15

In re Gilat Satellite Networks, Ltd.,
    No. 02-cv-1510, 2007 WL 1191048 (E.D.N.Y. Apr. 19, 2007) ..............................................17

In re Global Crossing Sec. and ERISA Litig.,
    225 F.R.D. 436 (S.D.N.Y. 2004) .........................................................................................7, 17



                                                                 iv
           Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 6 of 37



In re High-Tech Empl. Antitrust Litig.,
    No. 11-CV-2509, 2013 WL 6328811 (N.D. Cal. Oct. 30, 2013) ..............................................9

In re Initial Pub. Offering Sec. Litig.,
    671 F. Supp. 2d 467 (S.D.N.Y. 2009)......................................................................................17

In re LIBOR-Based Fin. Instruments Antitrust Litig.,
    299 F. Supp. 3d 430 (S.D.N.Y. 2018)......................................................................................19

In re Libor-Based Fin. Instruments Antitrust Litig.,
    No. 11-md-2262 (NRB) ...........................................................................................................15

In re Linerboard Antitrust Litig.,
    292 F. Supp. 2d 631 (E.D. Pa. 2003) .............................................................................9, 12, 13

In re Nasdaq Market-Makers Antitrust Litig.,
    187 F.R.D. 465 (S.D.N.Y. 1998) .....................................................................................7, 9, 22

In re Nasdaq Mkt.-Makers Antitrust Litig.,
    176 F.R.D. 99 (S.D.N.Y. 1997) .................................................................................................5

In re Nasdaq Mkt.-Makers Antitrust Litig.,
    No. 94 CIV. 3996 RWS, 2000 WL 37992 (S.D.N.Y. Jan. 18, 2000) ......................................17

In re Nissan Radiator/Transmission Cooler Litig.,
    10 CV 7493 (VB), 2013 WL 4080946 (S.D.N.Y. May 30, 2013).............................................8

In re Oxycontin Antitrust Litig.,
    No. 04-md-1603-SHS (S.D.N.Y. Jan. 25, 2011) .....................................................................17

In re Packaged Ice Antitrust Litig.,
    No. 08-MD-01952, 2011 WL 717519 (E.D. Mich. Feb. 22, 2011) ...................................12, 13

In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,
    986 F. Supp. 2d 207 (E.D.N.Y. 2013), reversed and vacated on other grounds,
    827 F.3d 223 (2d Cir. 2016)...................................................................................................6, 9

In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig.,
    330 F.R.D. 11 (S.D.N.Y. 2019) ....................................................................................... passim

In re Petrobras Sec.,
    862 F.3d 250 (2d Cir. 2017)...............................................................................................21, 23

In re Playmobil Antitrust Litig.,
    35 F. Supp. 2d 231 (E.D.N.Y. 1998) .......................................................................................20

In re Pressure Sensitive Labelstock Antitrust Litig.,
    584 F. Supp. 2d 697 (M.D. Pa. 2008) ................................................................................10, 12



                                                                  v
           Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 7 of 37



In re: SSA Bonds Antitrust Litig.,
    No. 1:16-cv-3711(ER) (S.D.N.Y. Mar. 5, 2018) .....................................................................11

In re Sumitomo Copper Litig.,
    182 F.R.D. 85 (S.D.N.Y. 1998) ...............................................................................................20

In re U.S. Foodservice Inc. Pricing Litig.,
    729 F.3d 108 (2d Cir. 2013).....................................................................................................21

In re Vitamin C Antitrust Litig.,
    279 F.R.D. 90 (E.D.N.Y. 2012) ...............................................................................................22

In re Vitamin C Antitrust Litig.,
    No. 06-MD-1738 (BMC), 2012 WL 5289514 (E.D.N.Y. Oct. 23, 2012) ...........................6, 10

In re Vitamins Antitrust Litig.,
    209 F.R.D. 251 (D.D.C. 2002).................................................................................................22

In re Warfarin Sodium Antitrust Litig.,
    212 F.R.D. 231 (D. Del. 2002) ................................................................................................11

In re Warner Chilcott Ltd. Sec. Litig.,
    No. 06 Civ. 11515 (WHP), 2008 WL 5110904 (S.D.N.Y. Nov. 20, 2008) ...............................7

In re Warner Commc’ns Sec. Litig.,
    618 F. Supp. 735 (S.D.N.Y. 1985) ............................................................................................9

In re WorldCom, Inc. Sec. Litig.,
    388 F. Supp. 2d 319 (S.D.N.Y. 2005)......................................................................................15

Laydon v. Mizuho Bank, Ltd.,
   No. 12-cv-3419 (S.D.N.Y).......................................................................................................15

Maley v. Del Glob. Techs. Corp.,
   186 F. Supp. 2d 358 (S.D.N.Y. 2002)........................................................................................2

Reade-Alvarez v. Eltman, Eltman & Cooper, P.C.,
   237 F.R.D. 26 (E.D.N.Y. 2006) .................................................................................................4

Shahriar v. Smith & Wollensky Rest. Grp., Inc.,
   659 F.3d 234 (2d Cir. 2011).....................................................................................................19

Sonterra Capital Master Fund Ltd. v. Credit Suisse Group AG,
   No. 1:15-cv-00871 (S.D.N.Y. Aug. 16, 2017) .........................................................................11

Sonterra Capital Master Fund, Ltd. v. UBS AG,
   No. 15-cv-5844 (S.D.N.Y.)......................................................................................................15




                                                                 vi
             Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 8 of 37



Sullivan v. Barclays plc,
    No. 13-cv-2811 ........................................................................................................................15

Tyson Foods, Inc. v. Bouaphakeo,
   136 S. Ct. 1036 (2016) .............................................................................................................21

Virgin Atl. Airways Ltd. v. British Airways PLC,
   257 F.3d 256 (2d Cir. 2001).......................................................................................................6

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338 (2011) ...........................................................................................................13, 19

Wal-Mart Stores Inc. v. Visa U.S.A., Inc.,
   396 F.3d 96 (2d Cir. 2005).........................................................................................6, 9, 24, 25

Wallace v. IntraLinks,
   302 F.R.D. 310 (S.D.N.Y. 2014) .............................................................................................19

Statutes, Rules, and Regulations

15 U.S.C.
   §1................................................................................................................................................1

Federal Rules of Civil Procedure
   Rule 23 ...........................................................................................................................4, 14, 18
   Rule 23(a)...........................................................................................................................18, 19
   Rule 23(a)(2) ............................................................................................................................19
   Rule 23(a)(3) ............................................................................................................................20
   Rule 23(b) ..........................................................................................................................19, 23
   Rule 23(b)(3) ......................................................................................................................21, 24
   Rule 23(c)(1)(B).......................................................................................................................23
   Rule 23(c)(2)(B).................................................................................................................24, 25
   Rule 23(e)...................................................................................................................................3
   Rule 23(e)(1)(B).......................................................................................................................24
   Rule 23(e)(2) ..............................................................................................................3, 4, 13, 18
   Rule 23(e)(2)(A) ................................................................................................................13, 20
   Rule 23(e)(2)(B).........................................................................................................................4
   Rule 23(e)(2)(C).......................................................................................................................14
   Rule 23(e)(2)(C)(i-iv) ........................................................................................................14, 18
   Rule 23(e)(2)(D) ......................................................................................................................18
   Rule 23(e)(3) ........................................................................................................................3, 18
   Rule 23(f) ...................................................................................................................................6
   Rule 23(g) ................................................................................................................................23
   Rule 23(g)(1)(A)(i)-(iv) ...........................................................................................................23

Local Civil Rule
   Rule 23.1 ..................................................................................................................................18



                                                                        vii
            Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 9 of 37



Other Authorities

2 W. Rubenstein, NEWBERG ON CLASS ACTIONS
   §4:49 (5th ed. 2012) .................................................................................................................21

Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their
    Fee Awards (2010) ...................................................................................................................17

Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees and Expenses in Class
   Action Settlements: 1993-2008 ................................................................................................17




                                                                   viii
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 10 of 37



                                        INTRODUCTION

       If approved, the Deutsche Bank Settlement1 will create a Settlement Fund of $15 million

(plus interest earned between preliminary approval and distribution) and obligate Deutsche Bank

to provide substantial cooperation to Plaintiffs in pursuing their case against the remaining

Defendants. The Settlement Fund recovers approximately 13% to 17% of estimated damages

attainable from Deutsche Bank, assuming total success on the merits and not discounting for

substantial litigation risk. This first-in settlement is an excellent recovery for the Settlement

Class, especially when considering the limited scope of damages Plaintiffs may seek from

Deutsche Bank under the Antitrust Criminal Penalty Enhancement and Reform Act of 2004

(“ACPERA”).2

       Deutsche Bank’s cooperation at this early stage is extremely valuable because as the

ACPERA applicant, the bank is motivated to assist Plaintiffs, has cooperation materials readily

available, and is uniquely knowledgeable about the claims and defenses at issue in the Action.

The value of Deutsche Bank’s cooperation is also amplified because it is being provided at an

early stage, as Plaintiffs litigate their claims under the pressure of a May 4, 2020 trial date and a

partial six-month discovery stay.      The Settlement also provides for antitrust compliance-

remediation measures, which Plaintiffs believe are critical to preventing and detecting future

anticompetitive conduct in the GSE Bond market.




1
        Unless otherwise defined herein, all capitalized terms have the same meaning as set out
in the Stipulation and Agreement of Settlement with Deutsche Bank Securities Inc. (the
“Stipulation”), attached as Ex. 1 to the Declaration of Christopher M. Burke (“Burke Decl.”),
filed concurrently herewith.
2      Pub. L. No. 108-237, §213(a)-(b), 118 Stat. 661, 666-668 (June 22, 2004), as amended by
Pub. L. No. 111-190, 124 Stat. 1275 (June 9, 2010), codified as amended at 15 U.S.C. §1 note.


                                                 1
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 11 of 37



       Based on their experience and knowledge of the claims and defenses at issue in this

Action, Co-Lead Counsel believe that the Settlement is in the best interests of the Settlement

Class. See Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 366 (S.D.N.Y. 2002) (stating

that ‘“great weight’ is accorded to the recommendations of counsel, who are most closely

acquainted with the facts of the underlying litigation”).3 Each of the Plaintiffs also wholly

supports the Settlement.

                             PROCEDURAL BACKGROUND

       On February 22, 2019, following an eight-month investigation triggered by a June 1,

2018 Bloomberg report that DOJ was investigating a group of banks for fixing the prices in the

GSE Bond market, Plaintiffs filed their initial complaint. The Court appointed Scott+Scott and

Lowey Dannenberg as Co-Lead Counsel on May 2, 2019. ECF No. 159.

       Shortly thereafter, Deutsche Bank’s Counsel contacted Co-Lead Counsel to communicate

the bank’s interest in providing Plaintiffs with cooperation pursuant to ACPERA. On May 9,

2019, the Parties executed an Agreement Concerning Confidentiality and Cooperation Processes

pursuant to which Deutsche Bank shared certain cooperation materials with Plaintiffs. On

May 16, 2019, Plaintiffs and Deutsche Bank executed a Tolling and Standstill Agreement

pursuant to which Deutsche Bank agreed to provide certain additional cooperation in exchange

for not being named in the First Amended Complaint.

       On May 23, 2019, Plaintiffs filed the First Amended Complaint, which incorporated

certain of the cooperation materials provided by Deutsche Bank but did not name Deutsche Bank

as a defendant. ECF No. 171. On June 18, 2019, the Court entered a partial six-month discovery

stay. ECF No. 224. On July 12, 2019, Plaintiffs filed the Second Amended Complaint naming

3
       Unless otherwise noted, citations are omitted and emphasis is added.



                                               2
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 12 of 37



Deutsche Bank as a defendant. On July 22, 2019, the Court entered an order staying Deutsche

Bank’s discovery deadlines for thirty (30) days while the Parties negotiated a settlement. ECF

No. 246. On August 21, 2019, the Parties executed the Stipulation. On September 3, 2019, the

Court granted in part and denied in part the motion to dismiss and granted Plaintiffs leave to

amend as to the dismissed defendants. ECF No. 253. Plaintiffs filed the Third Consolidated

Amended Class Action Complaint on September 10, 2019. Trial is set to begin on May 4, 2020.

                                          ARGUMENT

I.     THE COURT IS LIKELY TO GRANT FINAL APPROVAL TO THE PROPOSED
       SETTLEMENT

       Rule 23(e) requires court approval of a proposed class action settlement upon finding that

the proposal “is fair, reasonable, and adequate.” FED. R. CIV. P. 23(e)(2). The preliminary

approval process is governed by a “likelihood standard” – requiring the Court to assess whether

the parties have shown that “the court will likely be able to grant final approval and certify the

class.” In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., 330 F.R.D.

11, 28 n.21 (S.D.N.Y. 2019) (emphasis in original). Under the December 1, 2018 amendments

to Rule 23(e), in weighing preliminary approval, the Court must consider whether:

       (A)     the class representatives and class counsel have adequately represented the class;

       (B)     the proposal was negotiated at arm’s length;

       (C)     the relief provided for the class is adequate, taking into account:

               (i) the costs, risks, and delay of trial and appeal;

               (ii) the effectiveness of any proposed method of distributing relief to the class,
                    including the method of processing class-member claims, if required;

               (iii) the terms of any proposed award of attorney’s fees, including timing of
                     payment; and

               (iv) any agreement required to be identified under Rule 23(e)(3); and

       (D)     the proposal treats class members equitably relative to each other.


                                                 3
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 13 of 37



FED. R. CIV. P. 23(e)(2). The Advisory Committee Notes to the 2018 Amendments indicate that

the amendments were meant to codify the existing preliminary approval process that is

customary in class action settlements in each circuit. Id. Therefore, “the new Rule 23 factors

add to, rather than displace, the Grinnell factors” traditionally considered in the Second Circuit

to evaluate the substantive fairness of a settlement during the preliminary approval process.

Payment Card, 330 F.R.D. at 29.

       Grinnell requires the Court to weigh the following factors to determine whether a

proposed settlement is fair, reasonable, and adequate:

       (1) the complexity, expense and likely duration of the litigation, (2) the reaction
       of the class to the settlement, (3) the stage of the proceedings and the amount of
       discovery completed, (4) the risks of establishing liability, (5) the risks of
       establishing damages, (6) the risks of maintaining the class action through the
       trial, (7) the ability of the defendants to withstand a greater judgment, (8) the
       range of reasonableness of the settlement fund in light of the best possible
       recovery, and (9) the range of reasonableness of the settlement fund to a possible
       recovery in light of all the attendant risks of litigation.

City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds

by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). In undertaking this review,

“a full fairness analysis is unnecessary at this stage; preliminary approval is appropriate where a

proposed settlement is merely within the range of possible approval.” Reade-Alvarez v. Eltman,

Eltman & Cooper, P.C., 237 F.R.D. 26, 34 (E.D.N.Y. 2006).

               The Settlement Is Procedurally Fair Because It Was Achieved Through
               Extensive Arm’s-Length Negotiation with the Assistance of a Respected and
               Experienced Mediator (Rule 23(e)(2)(B))

       To determine whether a settlement is procedurally fair, courts evaluate the process

undertaken to achieve it. The Deutsche Bank Settlement is entitled to a presumption of fairness

because it was reached by capable counsel with the assistance of an experienced mediator, the

Honorable Jan M. Adler (ret.). In re Austrian and German Bank Holocaust Litig., 80 F. Supp. 2d



                                                4
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 14 of 37



164, 173-74 (S.D.N.Y. 2000), aff’d sub nom., D’Amato v. Deutsche Bank, 236 F.3d 78 (2d Cir.

2001) (stating that where a settlement is the “product of arm’s length negotiations conducted by

experienced counsel knowledgeable in complex class litigation,” the settlement enjoys a

“presumption of fairness”).

       On July 1 and 2, 2019, the Parties engaged in mediation before Judge Adler who

confirms that the negotiation process was bona fide, at times extremely contentious, and

advocated by sophisticated and capable counsel on both sides. Burke Decl., Ex. 2, ¶¶3, 6. After

two full days of mediation, the Parties remained far apart, and the mediation was suspended. Id.,

¶4. Following the mediation, the Parties remained in contact with each other and the mediator

and continued to explore the possibility of resolving this Action. Id., ¶5. On July 9, 2019, the

Parties reached an agreement in principle to settle this Action for $15 million, subject to

agreement on other material terms. Id.

              The Settlement Is Substantively Fair

       At preliminary approval, the Court “must make ‘a preliminary evaluation’ as to whether

the settlement is fair, reasonable and adequate.” In re Currency Conversion Fee Antitrust Litig.,

01-MD-1409, 2006 WL 3247396, at *5 (S.D.N.Y. Nov. 8, 2006). Where, as here, the Settlement

is achieved through a fair process and the Settlement’s terms are within the “range of possible

approval,” preliminary approval is warranted. See In re Nasdaq Mkt.-Makers Antitrust Litig.,

176 F.R.D. 99, 102 (S.D.N.Y. 1997).

                      The Complexity, Expense, and Likely Duration of the
                      Litigation (Grinnell Factor #1)

       This Action involves complex issues of law and fact. Defendants’ motion to dismiss

(ECF No. 221), which Deutsche Bank joined (ECF No. 247), illustrates the complexity of the

Action. Defendants argued that Plaintiffs failed to allege a plausible overarching conspiracy to



                                               5
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 15 of 37



fix prices of GSE Bond Transactions in the secondary market because: (i) chat room transcripts

quoted in the First Amended Complaint allegedly do not involve all Defendants; (ii) the chats

occurred during the syndication phase, and therefore, Defendants allegedly had safe harbor to

communicate with one another about prices; (iii) no viable “plus factors” support the conspiracy

Plaintiffs alleged; and (iv) the economic analysis is unreliable. Further, Defendants contended

that the rule of reason applies to Plaintiffs’ allegations. ECF No. 221 at 41-46. Complex issues

of law and fact are also likely to be raised at the class certification stage, and the losing party will

likely seek interlocutory review pursuant to Rule 23(f), which will cause delay in resolving the

litigation. See In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 986 F.

Supp. 2d 207, 212 n.13 (E.D.N.Y. 2013), reversed and vacated on other grounds, 827 F.3d 223

(2d Cir. 2016) (noting that “[i]n the Wal-Mart case, twenty months elapsed between the order

certifying the class and the Second Circuit’s divided opinion affirming that decision.”). Finally,

the trial of this action after completion of discovery is likely to be lengthy, and “[t]he losing

parties would likely appeal any adverse jury verdicts, thereby extending the duration of

litigation.” Payment Card, 986 F. Supp. 2d at 212.

       As a result, numerous courts have recognized that ‘“[f]ederal antitrust cases are

complicated, lengthy . . . bitterly fought,’ as well as costly.” In re Vitamin C Antitrust Litig., No.

06-MD-1738 (BMC), 2012 WL 5289514, at *4 (E.D.N.Y. Oct. 23, 2012); see also Virgin Atl.

Airways Ltd. v. British Airways PLC, 257 F.3d 256, 263 (2d Cir. 2001) (noting the “factual

complexities of antitrust cases”); Wal-Mart Stores Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 118 (2d

Cir. 2005) (stating that “[f]ederal antitrust cases are complicated, lengthy, and bitterly fought.”).

This case is no different. In sum, “[t]here can be no doubt that this class action would be




                                                   6
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 16 of 37



enormously expensive to continue, extraordinarily complex to try, and ultimately uncertain of

result.” In re Nasdaq Market-Makers Antitrust Litig., 187 F.R.D. 465, 477 (S.D.N.Y. 1998).

                       The Reaction of the Settlement Class (Grinnell Factor #2)

       This Grinnell factor is generally inapplicable prior to disseminating notice. See Payment

Card, 330 F.R.D. at 29 (declining to address “the reaction of the class to the settlement”); see

also In re Warner Chilcott Ltd. Sec. Litig., No. 06 Civ. 11515 (WHP), 2008 WL 5110904, at *2

(S.D.N.Y. Nov. 20, 2008) (“Since no notice has been sent, consideration of this factor is

premature.”). At this time, the reaction of the Settlement Class comes from the Plaintiffs who

either attended the mediation in person or were available and updated by phone or other means.

Plaintiffs each believe the Settlement is in the best interests of the Settlement Class.

                       The Stage of the Proceedings and the Amount of Discovery
                       Completed (Grinnell Factor #3)

       In assessing the fairness of a settlement at preliminary approval, the Court inquires as to

“whether the plaintiffs have obtained a sufficient understanding of the case to gauge the strengths

and weaknesses of their claims and the adequacy of the settlement.” In re AOL Time Warner,

Inc., No. 02 CIV. 5575 (SWK), 2006 WL 903236, at *10 (S.D.N.Y. Apr. 6, 2006); In re Global

Crossing Sec. and ERISA Litig., 225 F.R.D. 436, 458 (S.D.N.Y. 2004) (“[T]he question is

whether the parties had adequate information about their claims.”). Further, “[c]ourts encourage

early settlement of class actions, when warranted, because early settlement allows class members

to recover without unnecessary delay and allows the judicial system to focus resources

elsewhere.” Beckman v. KeyBank, N.A., 293 F.R.D. 467, 474-75 (S.D.N.Y. 2013).

       Co-Lead Counsel’s knowledge of the merits and potential weaknesses of Plaintiffs’

claims supports preliminary approval of the Settlement. Co-Lead Counsel undertook an eight-

month investigation, which included engaging two sets of experts who analyzed three datasets,



                                                  7
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 17 of 37



interviewing former GSE Bond traders, and reviewing publicly available information. Further,

before the July 1 and 2, 2019 mediation sessions, Co-Lead Counsel participated in two initial

proffer sessions, as well as numerous follow-up proffers, with Deutsche Bank’s Counsel during

which the bank proffered key factual allegations that Plaintiffs incorporated in the First

Amended Complaint. This included illustrative examples of conspiratorial communications in

Bloomberg chat messages; information about the scope, duration, participants in, and effect of

the conspiracy; and seven years’ worth of Deutsche Bank’s trading data for GSE Bonds. See,

e.g., In re Nissan Radiator/Transmission Cooler Litig., 10 CV 7493 (VB), 2013 WL 4080946, at

*7 (S.D.N.Y. May 30, 2013) (stating “[a]lthough the parties have not engaged in extensive

discovery, . . . the plaintiffs conducted an investigation prior to commencing the action, retained

experts, and engaged in confirmatory discovery in support of the proposed settlement”).

       Also, in advance of the mediation, the Parties exchanged mediation statements in which

they discussed, among other things, the litigation risks Plaintiffs face in pursuing their claims

against Deutsche Bank and Defendants, as well as potential damages. By the time the mediation

occurred, Plaintiffs had also filed their opposition to Defendants’ motion to dismiss in which

Plaintiffs responded to Defendants’ arguments, including each of the defenses highlighted in

Section I.B.1, supra. It is fair to say that Defendants did not hold back on the defenses asserted

in their motion and that Plaintiffs vigorously opposed them.

       Co-Lead Counsel ‘“have engaged in sufficient investigation of the facts to enable the

Court to “intelligently make . . . an appraisal” of the Settlement.’” AOL Time Warner, 2006 WL

903236, at *10. Indeed, if extensive discovery was required for settlement approval, class action

plaintiffs would be deprived of the “ice breaker” settlement strategy, which is often used in

multi-party cases, as it was here, to “‘break the ice’ and bring other defendants to the point of




                                                8
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 18 of 37



serious negotiations.” In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 643 (E.D. Pa.

2003); see also In re High-Tech Empl. Antitrust Litig., No. 11-CV-2509, 2013 WL 6328811, at

*1 (N.D. Cal. Oct. 30, 2013). Accordingly, this factor weighs in favor of preliminary approval.

                       The Risks of Establishing Liability and Damages (Grinnell
                       Factors #4, 5)

       To assess this factor, “the Court should balance the benefits afforded the Class, including

the immediacy and certainty of a recovery, against the continuing risks of litigation.’” Payment

Card, 986 F. Supp. 2d at 224. Regarding liability, Plaintiffs expect Defendants to continue to

vigorously contest all elements of Plaintiffs’ claims during each stage of the case. If liability is

established, Plaintiffs will still face the difficulties inherent in proving damages. Plaintiffs’

theory of damages will be hotly contested, and there is no doubt that at trial the issue will involve

a “battle of the experts.” Nasdaq, 187 F.R.D. at 476. “In this ‘battle of experts,’ it is virtually

impossible to predict with any certainty which testimony would be credited, and ultimately,

which damages would be found to have been caused by actionable, rather than the myriad

nonactionable factors . . . .” In re Warner Commc’ns Sec. Litig., 618 F. Supp. 735, 744-45

(S.D.N.Y. 1985). Thus, there is a substantial risk that a jury might accept one or more of

Defendants’ damages arguments, or award far less than the Settlement Amount, or nothing at all.

Indeed, ‘“the history of antitrust litigation is replete with cases in which antitrust plaintiffs

succeeded at trial on liability, but recovered no damages, or only negligible damages, at trial, or

on appeal.’” Wal-Mart Stores, 396 F.3d at 118.

       In short, “[t]here is a substantial risk that the plaintiff might not be able to establish

liability at all and, even assuming a favorable jury verdict, if the matter is fully litigated and

appealed, any recovery would be years away.” Cardiology Assocs., P.C. v. Nat’l Intergroup,

Inc., No. 85 CIV. 3048 (JMW), 1987 WL 7030, at *3 (S.D.N.Y. Feb. 13, 1987).



                                                 9
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 19 of 37



                       The Risks of Maintaining a Class Through Trial (Grinnell
                       Factor #6)

       Although the “risk of maintaining a class through trial is present in [every] class action,”

Guippone v. BH S&B Holdings LLC, No. 09-CV-1029, 2016 WL 5811888(CM), at *7 (S.D.N.Y.

Sept. 23, 2016), “this factor [nevertheless] weighs in favor of . . . settlement” where “it is likely

that defendants would oppose class certification” if the case were to be litigated, Garland v.

Cohen & Krassner, No. 08-CV-4626 (KAM), 2011 WL 6010211, at *8 (E.D.N.Y. Nov. 29,

2011). Plaintiffs believe they will ultimately persuade the Court to certify a litigation class, but

Defendants will advance substantial arguments in opposition. Thus, there is a risk that this

litigation might not be maintained as a class through trial. See, e.g., Comcast Corp. v. Behrend,

569 U.S. 27, 29 (2013) (reversing class certification in an antitrust case).

                       Deutsche Bank’s Ability to Withstand a Greater Judgment
                       (Grinnell Factor #7)

       ‘“[I]n any class action against a large corporation, the defendant entity is likely to be able

to withstand a more substantial judgment, and, against the weight of the remaining factors, this

fact alone does not undermine the reasonableness of the instant settlement.’” Vitamin C, 2012

WL 5289514, at *6.        However, “the benefit of obtaining the cooperation of the Settling

Defendants tends to offset the fact that they would be able to withstand a larger judgment.” In re

Pressure Sensitive Labelstock Antitrust Litig., 584 F. Supp. 2d 697, 702 (M.D. Pa. 2008). Here,

Deutsche Bank’s ability to withstand a greater judgment is offset by the value of the cooperation

it has agreed to in the Stipulation. Burke Decl., Ex. 1, ¶¶17-18.

                       The Range of Reasonableness of the Settlement Fund in Light
                       of the Best Possible Recovery and Attendant Risks of
                       Litigation (Grinnell Factors #8, 9)

       In recommending that the Court preliminarily approve the Settlement, Plaintiffs have

taken into account estimated damages, Deutsche Bank’s ACPERA status, the benefits and risks


                                                 10
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 20 of 37



of continuing litigation against Deutsche Bank in light of the cooperation the bank has agreed to

provide, and the range of possible outcomes in the absence of a settlement.

        Using the seven years of data that Deutsche Bank provided as pre-settlement cooperation,

Plaintiffs developed a preliminary damages model that estimated a range of single damages

between $90 million to $113 million for Deutsche Bank only.4 The $15 million Settlement

Amount therefore represents 13% to 17% of estimated damages. Plaintiffs respectfully submit

that the recovery is within the range of reasonableness.5

        Further, ACPERA provides that a civil defendant that has received leniency from DOJ in

a criminal matter may, in a related civil antitrust action, limit its liability to “actual damages . . .

which [are] attributable to the commerce done by the [defendant] in the goods or services

affected by the violation” but only if the defendant “has provided satisfactory cooperation to” the

civil plaintiffs.   ACPERA §213(a)-(b).          Accordingly, assuming satisfactory cooperation,

damages from Deutsche Bank would be limited to single damages arising from only Deutsche

Bank’s commerce, without joint and several liability.           While this is a significant liability

limitation with respect to a recovery against Deutsche Bank, the Settlement does not alter the

4
       ‘“[T]he standard for evaluating settlement involves a comparison of the settlement
amount with the estimated single damages,’ not treble damages.” In re Warfarin Sodium
Antitrust Litig., 212 F.R.D. 231, 257-58 (D. Del. 2002).
5
        See, e.g., In re: SSA Bonds Antitrust Litig., No. 1:16-cv-3711(ER), ECF No. 431, at 2
(S.D.N.Y. Mar. 5, 2018) (preliminarily approving first-in settlement with Bank of America for
$17,000,000 and cooperation); Sonterra Capital Master Fund Ltd. v. Credit Suisse Group AG,
No. 1:15-cv-00871, ECF No. 159 (S.D.N.Y. Aug. 16, 2017) (preliminarily approving first-in
settlement with JPMorgan for $22,000,000 and cooperation); In re Currency Conversion Fee
Antitrust Litig., No. 01 MDL 1409, 2006 WL 3247396, at *6 (S.D.N.Y. Nov. 8, 2006)
(preliminarily approving settlements “representing roughly 10-15% of the credit transaction fees
collected by Defendants”); Payment Card, 330 F.R.D. at 49 (stating that the Second Circuit did
not take issue with original settlement recovery of “2.5% of the largest possible estimate of
actual damage to merchants”); Grinnell Corp., 495 F.2d at 455 n.2 (stating that “there is no
reason, at least in theory, why a satisfactory settlement could not amount to a hundredth or even
a thousandth part of a single percent of the potential recovery”).



                                                  11
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 21 of 37



maximum recoverable damages if Plaintiffs prevail at trial against the other Defendants. Burke

Decl., Ex. 1, ¶10; see also In re Cathode Ray Tube (CRT) Antitrust Litig., No. 14-cv-2058, 2015

WL 9266493, at *6 (N.D. Cal. Dec. 17, 2015) (noting the right to seek entire damages from non-

settling defendants “provides increased value . . . by creating added incentive for the remaining

defendants to settle or allowing greater recovery for the Plaintiffs at trial”).

        The Settlement provides a significant and immediate cash payment to the Settlement

Class, and delivers Deutsche Bank’s cooperation to Plaintiffs in pursuing their claims against the

other Defendants. See In re Packaged Ice Antitrust Litig., No. 08-MD-01952, 2011 WL 717519,

at *10 (E.D. Mich. Feb. 22, 2011) (recognizing value of early cooperation); Pressure Sensitive

Labelstock, 584 F. Supp. 2d at 702 (same); Linerboard, 292 F. Supp. 2d at 643 (same). Deutsche

Bank’s cooperation obligations include attorney proffers, witness interviews, production of data

and documents, deposition and trial testimony, evidentiary declarations, and further cooperation

that the Parties agree to. Burke Decl., Ex. 1, ¶¶17-18. Deutsche Bank is obligated to provide

this cooperation until judgment is final against all Defendants.

        Deutsche Bank’s cooperation has already been of great value to Plaintiffs in drafting the

First and Second Amended Complaints, which relied extensively on Bloomberg chats and other

materials Deutsche Bank provided. Deutsche Bank’s cooperation assisted Plaintiffs in naming

additional Defendants and providing additional and specific factual allegations regarding the

conspiratorial conduct and impacted GSE Bonds.             Given this Action’s condensed pre-trial

schedule, the hurdle occasioned by the partial six-month DOJ discovery stay, and the May 4,

2020 trial date, Deutsche Bank’s cooperation will be an extraordinarily valuable resource to

Plaintiffs in pursuing their claims.




                                                  12
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 22 of 37



       Deutsche Bank has also agreed to antitrust-compliance remediation measures for a period

of two years. Burke Decl., Ex. 1, ¶21. These measures include Deutsche Bank’s agreement to

maintain an antitrust-compliance policy meeting criteria in the Stipulation, meet periodically

with Pennsylvania Treasury to discuss its policies, and provide cooperation relating to antitrust-

compliance best practices in the GSE Bond market. Id. Plaintiffs believe these measures are

critical to preventing and detecting future anticompetitive conduct in the GSE Bond market.

       Finally, this Settlement has added value as an “ice-breaker” settlement in a multi-party

antitrust case. Packaged Ice, 2011 WL 717519, at *10. Such settlements add value because they

can “‘break the ice’ and bring other defendants to the point of serious negotiations.” Linerboard,

292 F. Supp. 2d at 643. Plaintiffs respectfully submit that the Settlement confers substantial

benefits while eliminating risks attendant to continued litigation against Deutsche Bank, which is

a well-financed and well-represented party with unique liability limits.

               The Remaining Rule 23(e)(2) Factors Support Preliminary Approval of the
               Settlement

               1.     Rule 23(e)(2)(A) – Plaintiffs and Co-Lead Counsel Have
                      Adequately Represented the Settlement Class

       Plaintiffs each share the same interest as the Settlement Class in prosecuting this Action

to ensure the greatest recovery from Deutsche Bank and Defendants. Plaintiffs are part of the

Settlement Class and suffered the same injuries as other Settlement Class Members – monetary

losses when they were overcharged or underpaid in their transactions with Defendants in GSE

Bond Transactions. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348-49 (2011) (‘“class

representative must be part of the class and “possess the same interest and suffer the same

injury” as the class members’”). Plaintiffs have played an active role in this case’s development,

prosecution, and settlement. See Denney v. Deutsche Bank AG, 443 F.3d 253, 268 n.25 (2d Cir.

2006) (stating that a class representative “must have an interest in vigorously pursuing the claims


                                                13
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 23 of 37



of the class, and must have no interests antagonistic to the interests of other class members”).

Thus, the Plaintiffs are adequate representatives of the Settlement Class and should be appointed

as class representatives for Settlement purposes. Further, Co-Lead Counsel have demonstrated

they are qualified, experienced, and able to conduct the litigation. See Section II.C., infra.

                       Rule 23(e)(2)(C) – the Monetary Relief, Cooperation, and
                       Remediation Measures Provided by Deutsche Bank Are Adequate,
                       Taking into Account the Costs and Risks of Further Litigation and All
                       Other Relevant Factors

       To assess whether this relief is adequate, Rule 23(e)(2)(C) requires the Court to consider:

       (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any
       proposed method of distributing relief to the class, including the method of
       processing class-member claims; (iii) the terms of any proposed award of
       attorney’s fees, including timing of payment; and (iv) any agreement required to
       be identified under Rule 23(e)(3).

FED. R. CIV. P. 23(e)(2)(C)(i-iv). Plaintiffs previously discussed Rule 23(e)(2)(C)(i) in Sections

I.B.1, I.B.4, and I.B.5,6 supra. The remaining Rule 23(e)(2)(C) factors support preliminarily

approving the Settlement.

                       a.      Rule 23(e)(2)(C)(ii) – Effectiveness of Any Proposed
                               Method of Distributing Relief to the Class

       This factor requires the Court to look at “the method of processing class-member claims.”

FED. R. CIV. P. 23(e)(2)(C)(ii). “A claims processing method should deter or defeat unjustified

claims, but the court should be alert to whether the claims process is unduly demanding.” FED.

R. CIV. P. 23 advisory committee’s note to 2018 amendment. ‘“To warrant approval, the plan of



6
        Grinnell factors 1, 4, 5, and 6 are subsumed by the new Rule 23(e)(2)(C)(i), which
analyzes the costs, risks, and delay of trial and appeal. Payment Card, 330 F.R.D. at 36 (noting
that this assessment implicates several Grinnell factors, including: (i) the complexity, expense
and likely duration of the litigation; (ii) the risks of establishing liability; (iii) the risks of
establishing damages; and (iv) the risks of maintaining the class through the trial, and
considering each Grinnell factor in its analysis).



                                                 14
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 24 of 37



allocation must also meet the standards by which the settlement was scrutinized – namely, it

must be fair and adequate’ . . . . ‘An allocation formula need only have a reasonable, rational

basis, particularly if recommended by experienced and competent class counsel.’”            In re

WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319, 344 (S.D.N.Y. 2005). “[N]umerous courts

have held . . . [that] a plan of allocation need not be perfect.” In re EVCI Career Colleges

Holding Corp. Sec. Litig., No. 05-CV-10240 (CM), 2007 WL 2230177, at *11 (S.D.N.Y. July

27, 2007) (collecting cases).

       Co-Lead Counsel, having consulted with Plaintiffs’ industry and economic consultants,

as well as the Claims Administrator,7 respectfully submit that the proposed Plan of Distribution

is a fair, reasonable, and adequate method of equitably allocating the Net Settlement Fund to

Claimants based on the estimated price impact of Defendants’ alleged conduct, and giving due

consideration to the objectives of preserving the Fund through administrative efficiency and

incentivizing claims by Settlement Class Members. See In re Credit Default Swaps Antitrust

Litig. (“CDS”), No. 13MD2476 (DLC), 2016 WL 2731524, at *9 (S.D.N.Y. April 26, 2016).

       The key feature that the Plan of Distribution uses to allocate the Fund is the tenor of the

GSE Transaction. This is because bonds that have longer maturities have a greater change in

value per basis point move in yield, as the following example illustrates. For a bond with a

1.50% interest rate that matures in six months, a one basis point move in yield changes the value

7
       Plaintiffs propose that the Court authorize A.B. Data, Ltd. (“A.B. Data”) to be the Claims
Administrator. Plaintiffs selected A.B. Data following a multi-party RFP process. A.B. Data
was the lowest cost provider and has experience in administering class action settlements
involving non-standard securities in over-the-counter and exchange markets (e.g., Laydon v.
Mizuho Bank, Ltd., No. 12-cv-3419 (S.D.N.Y) and Sonterra Capital Master Fund, Ltd. v. UBS
AG, No. 15-cv-5844 (S.D.N.Y.) (Euroyen-based derivatives); Sullivan v. Barclays plc, No. 13-
cv-2811 (S.D.N.Y.) (Euribor products); In re Libor-Based Fin. Instruments Antitrust Litig., No.
11-md-2262 (NRB) (exchange-based products); In re Crude Oil Commodity Futures Litig., No.
11-cv-3600 (S.D.N.Y.) (exchange-traded products)).



                                               15
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 25 of 37



by $45 per $1,000,000 traded. The same one basis point yield change in a 3.50% bond that has a

maturity of 30 years changes the value by approximately $1,850 per $1,000,000 traded.

       For purposes of distributing the Settlement Fund, the Plan of Distribution categorizes

GSE Bond Transactions into 31 categories based on the remaining years until maturity when

purchased or sold. For each maturity category, a “Risk Number,” which is a widely accepted

measure of the sensitivity of a bond’s price to changes in yield, and a Multiplier based on the

Risk Number has been preliminarily assigned. See Preliminary Multiplier Table, attached hereto

as Appendix A. To illustrate, the first category includes bonds that have less than one year until

maturity, and they have a Risk Number of approximately 0.5 and a Multiplier of 1. The last

category includes bonds that have over 30 years until maturity, and they have a Risk Number of

approximately 18.5 and a Multiplier of 37. The longer-dated bond in this example has 37 times

more risk (0.5*37=18.5) than the short-dated bond – hence, the assignment of Multipliers 37 and

1. Callable bonds will be assigned a Multiplier of 5. Based on a detailed sampling of callable

issuances during the Settlement Class Period, the average weighted maturity profile was

consistent with a comparable 2- to 3-year non-callable bond.

       The Preliminary Multiplier Table in Appendix A is provided for illustration purposes. A

Multiplier Table will be posted to the Settlement Website at least 30 days prior to the objection

and opt-out deadlines. Changes, if any, to the Multiplier Table based on newly available data or

information will be posted promptly to the Settlement Website, and Settlement Class Members

will be encouraged to check the website for updates.

       The Claims Administrator will multiply each Authorized Claimant’s notional volume for

each category by the relevant Multiplier. Payments will be calculated based on each Authorized

Claimant’s fraction of the total.       In consultation with Co-Lead Counsel, the Claims




                                               16
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 26 of 37



Administrator will implement a reasonable minimum payment threshold to ensure that

administrative costs of issuing small payments do not deplete the Fund.8

       The procedures for processing claims and distributing the Net Settlement Fund on a pro

rata basis are well-established, effective methods that have been widely used in antitrust class

actions and other cases involving financial instruments. See, e.g., CDS, 2016 WL 2731524, at *4

(approving plan that estimated price inflation caused by the defendants’ conduct and calculated

“each claimant’s recovery based on its pro rata share of the available Settlement Funds in

relation to the recoveries to which all claimants who have submitted a valid claim are entitled”).

                      b.      Rule 23(e)(2)(C)(iii) – the Terms of Any Proposed
                              Award of Attorneys’ Fees

       Co-Lead Counsel will apply for an award of attorneys’ fees not to exceed 26% of the

Settlement Fund plus payment of Litigation Expenses, as well as interest on the attorneys’ fees

and Litigation Expenses. An attorneys’ fee award of 26% is reasonable in comparison to other

common fund settlements of similar size and complexity.9 Pursuant to this Court’s prior practice


8
         See, e.g., In re Gilat Satellite Networks, Ltd., No. 02-cv-1510, 2007 WL 1191048, at *9-
*10 (E.D.N.Y. Apr. 19, 2007) (approving a de minimis threshold in order to “save the settlement
fund from being depleted by the administrative costs associated with claims unlikely to exceed
those costs”); In re Glob. Crossing Sec. and ERISA Litig., 225 F.R.D. 436, 463 (S.D.N.Y. 2004)
(same); In re Nasdaq Mkt.-Makers Antitrust Litig., No. 94 CIV. 3996 RWS, 2000 WL 37992, at
*2 (S.D.N.Y. Jan. 18, 2000) (approving $25 minimum payment); In re Initial Pub. Offering Sec.
Litig., 671 F. Supp. 2d 467, 497-98 (S.D.N.Y. 2009) (approving $10 minimum payment).
9
        See, e.g., In re DDAVP Direct Purchaser Antitrust Litig., No. 05-2237, 2011 WL
12627961 (S.D.N.Y. Nov. 28, 2011) (awarding 33 1/3% attorneys’ fees from $20.25 million
fund); In re Oxycontin Antitrust Litig., No. 04-md-1603-SHS, ECF No. 60 (S.D.N.Y. Jan. 25,
2011) (awarding 33 1/3% attorneys’ fees from $16 million fund); see also Theodore Eisenberg &
Geoffrey P. Miller, Attorney Fees and Expenses in Class Action Settlements: 1993-2008, 7 J.
EMPIRICAL LEGAL STUD. 248, tbl. 7 (2010) (finding mean fee of 22.7% and median fee of 23.5%
(with a standard deviation of 7.5%) for recoveries between $14.3 million and $22.8 million);
Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their Fee Awards, 7 J.
EMPIRICAL LEGAL STUD. 811, tbl. 10 (2010) (finding mean fee of 24.8% and median fee of 25%
(with a standard deviation of 6.4%) for recoveries between $10 million and $15.2 million).



                                                17
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 27 of 37



and subject to the Court’s approval, the Stipulation provides that the Court will authorize

payment to Co-Lead Counsel of 50% of the attorneys’ fees awarded upon entry of an order

approving attorneys’ fees and reimbursement of expenses, with payment of the balance of the

award to be made to Co-Lead Counsel when distribution of the proceeds of the Net Settlement

Fund to claimants has been very substantially completed. Burke Decl., Ex. 1, ¶29.10

                      c.      Rule 23(e)(2)(C)(iv) – Any Agreement Required to Be
                              Identified Under Rule 23(e)(3)

       There are no agreements to be identified pursuant to Rule 23(e)(3).

                      Rule 23(e)(2)(D) – the Settlement Treats Class Members Equitably
                      Relative to Each Other

       This Rule 23(e)(2) factor “could include whether the apportionment of relief among class

members takes appropriate account of differences among their claims, and whether the scope of

the release may affect class members in different ways that bear on the apportionment of relief.”

FED. R. CIV. P. 23 advisory committee’s note to 2018 amendment.               Under the Plan of

Distribution, Authorized Claimants will receive a pro rata share of the recovery based on the

estimated price impact of Defendants’ conduct on their GSE Bond Transactions. Further, the

Releases also treat all Settlement Class Members equitably relative to one another. Subject to

Court approval, all Settlement Class Members will be giving Deutsche Bank an identical release

running to the identical factual predicate of the Action. Burke Decl., Ex. 1, ¶¶3-10.

II.    CERTIFICATION OF THE SETTLEMENT CLASS IS WARRANTED

       The Settlement Class Meets the Requirements of Rule 23(a)

       A court may certify a class for settlement purposes where the proposed settlement class

meets the requirements for Rule 23(a) class certification, as well as one of the three subsections


10
       There are no fee-sharing agreements to disclose pursuant to Local Civil Rule 23.1.



                                                18
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 28 of 37



of Rule 23(b). In re Am. Int’l Grp., Inc. Sec. Litig., 689 F.3d 229, 242 (2d Cir. 2012). Rule

23(a) provides that a class may be certified if the plaintiff demonstrates numerosity,

commonality, typicality, and adequacy of the class plaintiffs. FED. R. CIV. P. 23(a). The

Settlement Class meets the requirements of Rule 23(a) for settlement purposes.

               1.      Settlement Class Members Are so Numerous that Joinder Is
                       Impracticable

       In cases involving widely traded instruments such as this one, numerosity is readily

satisfied. See Wallace v. IntraLinks, 302 F.R.D. 310, 315 (S.D.N.Y. 2014); Shahriar v. Smith &

Wollensky Rest. Grp., Inc., 659 F.3d 234, 252 (2d Cir. 2011) (stating that courts presume

numerosity for classes of 40 or more members).

                       There Are Questions of Law and Fact Common to All
                       Settlement Class Members

       Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” FED.

R. CIV. P. 23(a)(2). This threshold is satisfied if the question is “capable of classwide resolution

– which means that determination of its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke.” Wal-Mart Stores, 564 U.S. at 350. When

assessing commonality, even ‘“a single [common] question will do.’” Id. at 359. Commonality

is regularly found in antitrust cases because questions of the existence, nature, and scope of an

antitrust conspiracy are common. In re LIBOR-Based Fin. Instruments Antitrust Litig., 299 F.

Supp. 3d 430, 590 (S.D.N.Y. 2018) (stating that “the existence of a conspiracy is a common

question”). In addition to common questions about the conspiracy element, numerous other

common questions are presented, including whether Plaintiffs and the other Settlement Class

Members suffered an injury in fact and the appropriate measure of class-wide damages.




                                                 19
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 29 of 37



                      Plaintiffs’ Claims Are Typical of Those of the Settlement Class

       Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical

of the claims or defenses of the class.” FED. R. CIV. P. 23(a)(3). This standard is satisfied when

‘“each [class] member’s claim arises from the same course of events, and each class member

makes similar legal arguments to prove the defendant’s liability.’” In re Elec. Books Antitrust

Litig., No. 11 MD 2293 (DLC), 2014 WL 1282293, at *12 (S.D.N.Y. Mar. 28, 2014) (citing

Brown v. Kelly, 609 F.3d 467, 475 (2d Cir. 2010)). “Factual differences in the amount of

damages, date, size or manner of purchase, the type of purchaser . . . and other such concerns

will not defeat class certification when plaintiffs allege that the same unlawful course of conduct

affected all members of the proposed class.” In re Sumitomo Copper Litig., 182 F.R.D. 85, 92

(S.D.N.Y. 1998). The standard is “not highly demanding,” Dial Corp. v. News Corp., 314

F.R.D. 108, 113 (S.D.N.Y. 2015), and is readily satisfied in price-fixing conspiracies which aim

to prove “a conspiracy, its effectuation, and damages therefrom.” In re Currency Conversion

Fee Antitrust Litig., 264 F.R.D. 100, 111 (S.D.N.Y. 2010) (collecting cases).

       Plaintiffs’ claims are typical of the Settlement Class’s claims because Plaintiffs allege the

same unlawful course of conduct harmed all Settlement Class Members. See In re Amaranth

Nat. Gas Commodities Litig., 269 F.R.D. 366, 376 (S.D.N.Y. 2010) (stating that “the typicality

requirement may be satisfied where ‘injuries derive from a unitary course of conduct by a single

system”’). Any differences that may exist as to the amount of injury suffered by each Settlement

Class Member does not preclude a finding of typicality. In re Playmobil Antitrust Litig., 35 F.

Supp. 2d 231, 242 (E.D.N.Y. 1998).

                      The Settlement Class Is Fairly and Adequately Represented

       As discussed previously at Section I.C.1, supra, in the Rule 23(e)(2)(A) analysis,

Plaintiffs and Co-Lead Counsel have fairly and adequately represented the Settlement Class.


                                                20
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 30 of 37



               The Settlement Class Meets the Requirements of Rule 23(b)(3)

        Rule 23(b)(3) permits a case to be litigated as a class action if (1) “questions of law or

fact common to class members predominate over any questions affecting only individual

members,” and (2) “a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” FED. R. CIV. P. 23(b)(3).

               1.      Common Questions of Law and Fact Predominate

        “The predominance inquiry ‘asks whether the common, aggregation-enabling, issues in

the case are more prevalent or important than the non-common, aggregation-defeating,

individual issues.’” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (quoting 2

W. Rubenstein, NEWBERG ON CLASS ACTIONS §4:49, at 195-96 (5th ed. 2012)). Predominance is

satisfied ‘“if resolution of some of the legal or factual questions that qualify each class member’s

case as a genuine controversy can be achieved through generalized proof, and if these particular

issues are more substantial than the issues subject only to individualized proof.’” In re U.S.

Foodservice Inc. Pricing Litig., 729 F.3d 108, 118 (2d Cir. 2013). A plaintiff does not have ‘“to

prove that each element of her claim is susceptible to classwide proof,’” but rather, a plaintiff

need only show ‘“that common questions predominate over any questions affecting only

individual [class] members.’” In re Petrobras Sec., 862 F.3d 250, 268 (2d Cir. 2017) (quoting

Amgen Inc v. Connecticut Ret. Plans and Trust Funds, 568 U.S. 455, 469 (2013)) (emphasis in

original).

        Predominance is ‘“a test readily met in certain cases alleging . . . violations of the

antitrust laws.’” Cordes & Co. Fin. Servs., Inc. v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 105

(2d Cir. 2007) (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997)); Elec. Books,

2014 WL 1282293, at *14 (‘“where plaintiffs were allegedly aggrieved by a single policy of the




                                                21
        Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 31 of 37



defendant[], and there is a strong commonality of the violation and the harm, this is precisely the

type of situation for which the class action device is suited’”) (quoting Brown, 609 F.3d at 484).

       Here, each element of the Plaintiffs’ antitrust claims – collusion, causation and impact,

and damages – would be proven through common evidence. See In re Vitamin C Antitrust Litig.,

279 F.R.D. 90, 109 (E.D.N.Y. 2012) (stating that in price-fixing conspiracy cases, “courts have

frequently held that the predominance requirement is satisfied because the existence and effect of

the conspiracy are the prime issues in the case and are common across the class”) (citing cases).

       The existence and scope of Defendants’ conspiracy to fix prices for GSE Bond

Transactions can be established by common evidence, such as chat room communications and

the deposition testimony of Defendants’ traders. NASDAQ Market-Makers, 169 F.R.D. at 518

(“Courts repeatedly have held that the existence of a conspiracy is the predominant issue in price

fixing cases, warranting certification of the class even where significant individual issues are

present.”). None of this proof will vary across Settlement Class Members. Rather, proof of the

conspiracy “will focus on the actions of the defendants, and, as such, proof for these issues will

not vary among class members.” In re Vitamins Antitrust Litig., 209 F.R.D. 251, 264 (D.D.C.

2002). Further, class-wide impact, causation, and damages can also be demonstrated using

common evidence, including through expert testimony and modeling that relies on Defendants’

transaction data, which is common to all members of the Settlement Class and requires no

individualized inquiries.

                       A Class Action Is the Superior Method for Resolving This Case

       A case satisfies the superiority test if “‘the class device will achieve economies of scale,

conserve judicial resources, preserve public confidence in the integrity of the judicial system by

avoiding the waste and delay of repetitive proceedings, and prevent inconsistent adjudications of

similar claims.’” Chhab v. Darden Rests., Inc., No. 11 Civ. 8345 (NRB), 2016 WL 3004511, at


                                                22
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 32 of 37



*3 (S.D.N.Y. May 20, 2016) (quoting Gonqueh v. Leros Point to Point, Inc., No. 14-CV-5883

(GHW), 2015 WL 9256932, at *3 (S.D.N.Y. Sept. 2, 2015)).                Superiority is “explicitly

comparative in nature: courts must ask whether ‘a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.’” Petrobras, 862 F.3d at 268

(quoting FED. R. CIV. P. 23(b) (emphasis in original)). In the settlement context, the Court “need

not inquire whether the case, if tried, would present intractable management problems.”

Amchem, 521 U.S. at 620; Am. Int’l Group, 689 F.3d at 239, 240.

       Class litigation is superior in actions where, as here, it would be unduly costly for

Settlement Class Members to pursue litigation on their own.          See Elec. Books, 2014 WL

1282293, at *23 (citing Amchem, 521 U.S. at 617); Carnegie v. Household Int’l, Inc., 376 F.3d

656, 661 (7th Cir. 2004) (“The realistic alternative to a class action is not 17 million individual

suits, but zero individual suits, as only a lunatic or a fanatic sues for $30.”) (emphasis in

original). Additionally, Settlement Class Members are significant in number and geographically

disbursed, making a “class action the superior method for the fair and efficient adjudication of

the controversy.”    In re Currency Conversion Fee Antitrust Litig., 224 F.R.D. 555, 566

(S.D.N.Y. 2004).

               The Court Should Appoint Co-Lead Counsel as Counsel for the Settlement
               Class

       “An order that certifies a class action . . . must appoint class counsel under Rule 23(g).”

FED. R. CIV. P. 23(c)(1)(B) considering the factors identified in Rule 23(g)(1)(A)(i)-(iv). After

considering numerous lead counsel motions, the Court previously appointed Scott+Scott and

Lowey Dannenberg as interim co-lead counsel. ECF No. 159. Since that time, the firms have

competently undertaken the responsibilities assigned to them by the Court.           Accordingly,




                                                23
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 33 of 37



Plaintiffs request that Scott+Scott and Lowey Dannenberg be appointed as counsel for the

Settlement Class.

III.   THE PROPOSED MANNER OF NOTICE IS THE BEST NOTICE
       PRACTICABLE UNDER THE CIRCUMSTANCES

       Rule 23(e)(1)(B) provides that, “[t]he court must direct notice in a reasonable manner to

all class members who would be bound by the proposal.” Where, as here, notice is to be

provided to a settlement class certified under Rule 23(b)(3), the Court is required to “direct to

class members the best notice that is practicable under the circumstance[s].” FED. R. CIV. P.

23(c)(2)(B). “The standard for the adequacy of a settlement notice in a class action under either

the Due Process Clause or the Federal Rules is measured by reasonableness.” Wal-Mart Stores,

396 F.3d at 113.

       Plaintiffs propose to send via first class mail the Mail Notice and Claim Form (together,

the “Notice Packet”) (attached as Exhibits 1 and 2 to the proposed Preliminary Approval Order)

to potential members of the Settlement Class. Deutsche Bank agreed to supply the names and

addresses of potential Settlement Class Members who or which can be identified based on

records within the bank’s possession. Plaintiffs have requested parallel information from the

other Defendants and are conferring with them in an attempt to reach an agreement.

       In addition, the Claims Administrator will implement a robust broker/nominee mailing

process that will further facilitate the distribution of notice to potential members of the

Settlement Class. The Claims Administrator maintains a database of the approximately 4,500

brokers and nominees, which include the largest and most common banks, brokers, and other

nominees who are responsible for conducting financial transactions, including GSE Bond

Transactions, on behalf of others.




                                               24
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 34 of 37



       In addition to mailing Notice Packets, Plaintiffs propose that the Publication Notice

(attached as Exhibit 3 to the proposed Preliminary Approval Order) will be published in

international financial news outlets and as a global press release. The Claims Administrator will

establish and maintain a Settlement Website, where Settlement Class Members can obtain

detailed information about the case and the Settlement. The Claims Administrator will also

establish a telephone helpline and monitor an email address to which Settlement Class Members

may write.

       Such multi-faceted notice programs combining individual mail notice and publication

notice have been approved by federal courts in numerous complex class actions. See, e.g., Wal-

Mart Stores, 396 F.3d at 105 (affirming “notice plan that required mailing the settlement notice

to class members and publishing a condensed version of the settlement notice in numerous

widely-distributed publications”). Accordingly, Plaintiffs respectfully request that the Court

approve the proposed manner of effectuating notice.

IV.    THE FORMS OF NOTICE ARE REASONABLE

       The Mail Notice exceeds the requirements of Rule 23(c)(2)(B), as it provides Settlement

Class Members, in “plain, easily understood language,” with descriptions of the nature of the

Action, including the claims and defenses at issue; the definition of the settlement class; how and

when to object and opt out; and the binding effect of the judgement, if the Court approves the

Deutsche Bank Settlement. Further, the Publication Notice will be widely disseminated, further

supporting the reasonableness of the notice. Accordingly, Plaintiffs respectfully request that the

Court approve the proposed forms of notice.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter an order

preliminarily approving the Deutsche Bank Settlement and authorizing notice.


                                                25
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 35 of 37



Dated: September 11, 2019

s/ Christopher M. Burke                         VINCENT BRIGANTI
CHRISTOPHER M. BURKE (CB-3648)                  CHRISTIAN LEVIS
600 W. Broadway, Suite 3300                     MARGARET MACLEAN
SCOTT+SCOTT ATTORNEYS AT                        ROLAND R. ST. LOUIS, III
LAW LLP                                         LOWEY DANNENBERG, P.C.
San Diego, CA 92101                             44 South Broadway, Suite 1100
Tel: (619) 233-4565                             White Plains, NY 10601
Fax: (619) 233-0508                             Tel: (914) 997-0500
cburke@scott-scott.com                          Fax: (914) 997-0035
                                                vbriganti@lowey.com
DAVID R. SCOTT (DS-8053)                        clevis@lowey.com
AMANDA F. LAWRENCE (AL-8804)                    mmaclean@lowey.com
KRISTEN ANDERSON (KA-1965)                      rstlouis@lowey.com
DONALD A. BROGGI (DB-9661)
THOMAS BOARDMAN (TB-0530)                       Interim Co-Lead Counsel for the Class and
SCOTT+SCOTT ATTORNEYS AT                        Attorneys for Plaintiff Joseph M. Torsella is the
LAW LLP                                         Treasurer      of    the    Commonwealth       of
The Helmsley Building                           Pennsylvania and the head of the Pennsylvania
230 Park Ave., 17th Floor                       Office of the State Treasurer
New York, NY 10169
Tel: (212) 223-6444                             TODD A. SEAVER
Fax: (212) 223-6334                             CARL N. HAMMARSKJOLD
david.scott@scott-scott.com                     BERMAN TABACCO
alawrence@scott-scott.com                       44 Montgomery Street, Suite 650
kanderson@scott-scott.com                       San Francisco, CA 94104
dbroggi@scott-scott.com                         Tel: (415) 433-3200
tboardman@scott-scott.com                       Fax: (415) 433-6382
                                                tseaver@bermantabacco.com
Interim Co-Lead Counsel for the Class and       chammarskjold@bermantabacco.com
Attorneys for Plaintiff City of Birmingham
Retirement and Relief System                    LESLIE R. STERN
                                                BERMAN TABACCO
CHRISTOPHER CRAIG                               One Liberty Square
Chief Counsel                                   Boston, MA 02109
PENNSYLVANIA TREASURY                           Tel: (617) 542-8300
DEPARTMENT                                      Fax: (617) 542-1194
OFFICE OF THE CHIEF COUNSEL                     lstern@bermantabacco.com
129 Finance Building
Harrisburg, PA 17120                            Attorneys for Plaintiffs Electrical Workers
ccraig@patreasury.gov                           Pension Fund Local 103, I.B.E.W., and Local
                                                103, I.B.E.W. Health Benefit Plan
Attorney for Plaintiff Joseph M. Torsella, in
his official capacity as the Treasurer of the
Commonwealth of Pennsylvania



                                                26
       Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 36 of 37



                                CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.


                                             s/ Christopher M. Burke
                                             Christopher M. Burke




                                                27
Case 1:19-cv-01704-JSR Document 256 Filed 09/11/19 Page 37 of 37



                          APPENDIX A

                   Preliminary Multiplier Table
      Remaining Years Until Maturity
                                     Risk Number Multiplier
            >     but       <
            0                1            0.49843         1
            1                2            1.49486         3
            2                3            2.47329         5
            3                4            3.42543         7
            4                5            4.34314         9
            5                6            5.22957        10
            6                7            6.07686        12
            7                8            6.88143        14
            8                9            7.68229        15
            9               10            8.43743        17
           10               11            9.17771        18
           11               12            9.90057        20
           12               13           10.59614        21
           13               14           11.26171        23
           14               15           11.87214        24
           15               16           12.51443        25
           16               17           13.09429        26
           17               18           13.64543        27
           18               19           14.17200        28
           19               20           14.66757        29
           20               21           15.13529        30
           21               22           15.57700        31
           22               23           15.99043        32
           23               24           16.37986        33
           24               25           16.74071        34
           25               26           17.07586        34
           26               27           17.38643        35
           27               28           17.66557        35
           28               29           17.93929        36
           29               30           18.16371        36
           30                            18.44600        37
